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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA

                              CASE NO. 2:19-cv-00535-JES-NPM

PERRY BECKER,
individually and on behalf of all
others similarly situated,                                  CLASS ACTION

       Plaintiff,                                           JURY TRIAL DEMANDED

v.

PRO CUSTOM SOLAR LLC D/B/A
MOMENTUM SOLAR,

      Defendant.
__________________________________/

                              CASE MANAGEMENT REPORT

       The parties have agreed on the following dates and discovery plan pursuant to Federal

Rule of Civil Procedure 26(f) and Local Rule 3.05(c):

                      DEADLINE OR EVENT                                    AGREED DATE

 Mandatory Initial Disclosures (pursuant to Fed. R. Civ. P. 26(a)(1))         10/15/2019
 Motions to Add Parties or Amend Pleadings                                    11/15/2019
                                                                        Plaintiff: 3/1/2020
 Disclosure of Expert Reports
                                                                        Defendant: 3/15/2020

 Plaintiff’s Motion for Class Certification                                    4/15/2020
 Defendant’s Response to Motion for Class Certification                        5/15/2020
 Plaintiff’s Reply in Support of Motion for Class Certification                 6/1/2020
 Discovery Deadline
                                                                               6/15/2020

 Dispositive and Daubert Motions                                                7/1/2020
 Meeting In Person to Prepare Joint Final Pretrial Statement                   9/16/2020




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 Joint Final Pretrial Statement (including a single set of jointly-
 proposed jury instructions and verdict form, voir dire questions,              9/26/2020
 witness lists, and exhibit lists with objections on approved form)
 All Other Motions (including motions in limine and trial briefs)               10/17/2020

 Trial Term                                                                   November 2020
 Estimated Length of Trial [trial days]                                           4 days
 Jury/Non-Jury                                                                     Jury
                                                                         Deadline: 3/31/2020

                                                                         Mediator: TBD by
                                                                         agreement of counsel
 Mediation
                                                                         Address: TBD

                                                                         Telephone: TBD

 Parties Consent to Proceed Before a Magistrate Judge                               No



                            I.      MEETING OF PARTIES IN PERSON

       Lead counsel and any unrepresented parties must meet in person and not by telephone

absent an order permitting otherwise. The meeting shall take place in the Middle District of Florida

unless counsel and any unrepresented parties agree on a different location. Counsel and any

unrepresented parties hereby certify that a meeting was held on September 17, 2019 at 3:30 p.m.

and was attended by:

       Manuel Hiraldo                                        Plaintiff
                  Name                                                Counsel for/party
       Yaniv Adar                                     Defendant
                  Name                                                Counsel for/party




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                                  II.     INITIAL DISCLOSURES

       Federal Rule of Civil Procedure 26 provides that these disclosures are mandatory in Track

Two and Track Three cases except as stipulated by the parties or otherwise ordered by the Court

(the amendment to Rule 26 supersedes Middle District of Florida Local Rule 3.05 to the extent

that Rule 3.05 opts out of the mandatory discovery requirements).

       The parties agree to exchange information described in Fed.R.Civ.P. 26(a)(1)(A)-(D) by

October 15, 2019.

                                III.    ELECTRONIC DISCOVERY

       The parties have discussed issues relating to disclosure or discovery of electronically stored

information (“ESI”), including Initial Disclosures, Section II above, and agree that (check one):

       X        No party anticipates the disclosure or discovery of ESI in this case.

       ___ One or more of the parties anticipate the disclosure or discovery of ESI in this case.

                               IV.      AGREED DISCOVERY PLAN

       A.      Certificate of Interested Persons and Corporate Disclosure Statement

       This Court has previously ordered each party, governmental party, intervenor, non-party

movant, and Rule 69 garnishee to file and serve a Certificate of Interested Persons and Corporate

Disclosure Statement using a mandatory form. No party may seek discovery from any source

before filing and serving a Certificate of Interested Persons and Corporate Disclosure Statement.

A motion, memorandum, response, or other paper—including emergency motion—is subject to

being denied or stricken unless the filing party has previously filed and served its Certificate of

Interested Persons and Corporate Disclosure Statement. Any party who has not already filed and

served the required certificate is required to do so immediately.

       Every party that has appeared in this action to date has filed and served a Certificate of

Interested Persons and Corporate Disclosure Statement, which remains current:

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       X        Yes

       _____ No        Amended Certificate will be filed by _____________________ (party) on

                       or before _______________ (date).

       B.      Discovery Not Filed

       The parties shall not file discovery materials with the Clerk except as provided in Local

Rule 3.03. The Court encourages the exchange of discovery requests via an electronic medium.

See Local Rule 3.03(e).

       C.      Limits on Discovery

       Absent leave of Court, the parties may take no more than ten depositions per side (not per

party). Fed. R. Civ. P. 30(a)(2)(A)(i); Fed. R. Civ. P. 31(a)(2)(A)(i); see also Local Rule 3.02.

Absent leave of Court, the parties may serve no more than twenty-five interrogatories, including

sub-parts. Fed. R. Civ. P. 33(a); see also Local Rule 3.03. Absent leave of Court or stipulation of

the parties each deposition is limited to one day of seven hours. Fed. R. Civ. P. 30(d)(1). The

parties may agree by stipulation on other limits on discovery. Fed. R. Civ. P. 29. The Court will

consider the parties’ agreed dates, deadlines, and other limits in entering the scheduling order. In

addition to the deadlines in the above table, the parties have agreed to further limit discovery as

follows: Not Applicable.

       D.      Discovery Deadline

       Each party shall timely serve discovery requests so that the rules allow for a response prior

to the discovery deadline. The Court may deny as untimely all motions to compel filed after the

discovery deadline. In addition, the parties agree as follows: Please see proposed deadlines

included in schedule above.




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       E.      Disclosure of Expert Testimony

       On or before the dates set forth in the above table for the disclosure of expert reports, the

parties agree to fully comply with Rule 26(a)(2) and 26(e). Expert testimony on direct examination

at trial will be limited to the opinions, basis, reasons, data, and other information contained in the

written expert report or encompassed by the expert summary disclosed pursuant to Rule 26. Failure

to disclose such information may result in the exclusion of all or part of the testimony of the expert

witness. The parties agree on the following additional matters pertaining to the disclosure of expert

testimony: Please see proposed deadlines included in schedule above.

       F.      Confidentiality Agreements

       Whether documents filed in a case may be filed under seal is a separate issue from whether

the parties may agree that produced documents are confidential. The Court is a public forum, and

motions to file under seal are disfavored. The Court will permit the parties to file documents under

seal only upon a finding of extraordinary circumstances and particularized need. See Brown v.

Advantage Engineering, Inc., 960 F.2d 1013 (11th Cir. 1992); Wilson v. American Motors Corp.,

759 F.2d 1568 (11th Cir. 1985). A party seeking to file a document under seal must file a motion

to file under seal requesting such Court action together with a memorandum of law in support. The

motion, whether granted or denied, will remain in the public record.

       The parties may reach their own agreement regarding the designation of materials as

“confidential.” There is no need for the Court to endorse the confidentiality agreement. The Court

discourages unnecessary stipulated motions for a protective order. The Court will enforce

appropriate stipulated and signed confidentiality agreements. See Local Rule 4.15. Each

confidentiality agreement shall provide, or shall be deemed to provide, that “no party shall file a

document under seal without first having obtained an order granting leave to file under seal on a

showing of particularized need.” With respect to confidentiality agreements, the parties agree as

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follows: The Parties anticipate the potential need for a confidentiality agreement, and agree

to work cooperatively to draft and execute such an agreement should the need arise.

       G.      Other Matters Regarding Discovery

       Defendant’s Statement:

       On September 16, 2019, Defendant filed a motion to dismiss Plaintiff’s first amended

complaint. That motion remains pending. Defendant requested that Plaintiff consent to a

discovery stay during the pendency of the dismissal motion; plaintiff did not consent. On

September 23, 2019, Defendant filed a motion to stay and/or bifurcate discovery. That motion

remains pending. Defendant anticipates requesting limited, short-term adjournments of discovery

deadlines (e.g., the deadline for responding to plaintiff’s interrogatories) until the motion to stay

and/or bifurcate discovery is decided.

       Plaintiff’s Statement:

       Plaintiff opposes Defendant’s request to stay this matter pending its motion to dismiss or

bifurcation of discovery in this matter. Plaintiff similarly opposes any request to adjourn discovery

based on Defendant’s motion to stay and/or bifurcate.

                 V.      SETTLEMENT AND ALTERNATIVE DISPUTE RESOLUTION

       A.      Arbitration

       The Local Rules no longer designate cases for automatic arbitration, but the parties may

elect arbitration in any case. Do the parties agree to arbitrate?

       _____ Yes—binding

       _____ Yes—non-binding

       X       No

       B.      Mediation




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       Absent arbitration or a Court order to the contrary, the parties in every case must participate

in Court-annexed mediation as detailed in Chapter Nine of the Local Rules. The parties have

agreed on a mediator as set forth in the table above, and they have agreed to the date stated in the

table above as the last date for mediation. A list of Court approved mediators is available from the

Clerk and is posted on the Court’s web site at http://www.flmd.uscourts.gov. However, the parties

may unanimously agree to use a mediator who is not on that list.

       C.      Settlement

       At any point during the pendency of this litigation, the parties may request a settlement

conference before a United States Magistrate Judge by filing a motion with the Court. Settlement

conferences may not be used as a substitute for mediation, and the parties must still designate a

mediator and mediation deadline.

       D.      Other Alternative Dispute Resolution

       The parties intend to pursue the following other method(s) of alternative dispute resolution:



       Date: October 9, 2019

       Signature of Counsel (compliant with Local Rule 1.05(d)) and Unrepresented Parties




 /s/ Ignacio J. Hiraldo                            /s/ Thomas J. Cotton
 Ignacio J. Hiraldo                                Thomas J. Cotton (pro hac vice)
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